 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 1 of 15 Page ID #:85



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       7 HUSSEIN M. BERRI and EXCALIBER
         FUELS, a California corporation
       8
       9                           UNITED STATES DISTRICT COURT

      10                          CENTRAL DISTRICT OF CALIFORNIA

      11
         12909 CORDARY, LLC, a California              Case No. 8:22-cv-01748-JWH (JDEx)
      12 limited liability company,
                                                       Assigned for All Purposes To:
      13          Plaintiff,                           Hon. John W. Holcomb
      14     v.
                                                       CROSS-COMPLAINT FOR:
      15
         HUSSEIN M. BERRI, an individual,                   1. Equitable Indemnity;
      16 EXCALIBER FUELS, a California                      2. Implied Indemnity;
         corporation; and DOES 1-10, inclusive,             3. Breach of Contract; and
      17                                                    4. Declaratory Relief
              Defendants.
      18
         ______________________________________
      19                                                 Complaint Filed: September 26, 2022
         HUSSEIN BERRI, an individual;                   Trial Date:       None Set
      20 EXCALIBER FUELS, a California
         corporation,
      21
                Cross-Complainants,
      22
             v.
      23
         12909 CORDARY, LLC, a California
      24 limited liability company; WESTMINSTER
         LIVING, L.P., a California limited partnership;
      25 PACIFIC HOUSING MANAGEMENT, INC, a
         California corporation; RICARD A. HALL, an
      26 individual; and ROES 1 through 100, inclusive,
      27           Cross-Defendants.
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                                CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                          EXCALIBER FUELS
 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 2 of 15 Page ID #:86



       1          Cross-Complainants Hussein M. Berri and Excaliber Fuels (“Cross-Complainants”) allege
       2 as follows:
       3                                       CROSS-DEFENDANTS
       4          1.     Cross-Complainant Hussein Berri (“Berri”) is an individual residing in the County
       5 of Orange, State of California.
       6          2.     Cross-Complainant Excaliber Fuels (“Excaliber”) is a California Corporation doing
       7 business in the County of Orange, State of California.
       8          3.     Cross-Complainants Berri and Excaliber are hereinafter refer to as Cross-
       9 Complainants.
      10          4.     Cross-Complainants are informed and believe that Cross-Defendant 12909 Cordary,
      11 LLC (“Cordary”) is and at all times relevant to this matter was a California limited liability company
      12 doing business in the State of California.
      13          5.     Cross-Complainants are informed and believe that Cross-Defendant Westminster
      14 Living, LP (“WLLP”) is and at all times relevant to this matter was a California limited partnership
      15 doing business in the State of California.
      16          6.     Cross-Complainants are informed and believe that Cross-Defendant Pacific Housing
      17 Management, Inc. (“PHM”), a California corporation is and all times relevant to this matter was a
      18 California corporation doing business the State of California, and was at all relevant times acting as
      19 a general partner of WLLP.
      20          7.     Cross-Complainants are informed and believe that Cross-Defendant Richard A. Hall
      21 (“RH”) is and all times relevant to this matter is a resident of Orange County, California, and was
      22 at all relevant times acting on behalf and was in control of the corporate general partner of WLLP.
      23          8.     Cross-Complainants hereinafter collectively refer to Cross-Defendants Cordary,
      24 WLLP, PHM, and RH as Cross-Defendants.
      25          9.     Cross-Complainants do not know the true names and/or capacities of the persons or
      26 entities sued herein as ROES 1 through 50, inclusive, (“Roe or Roes”) and therefore sues said cross-
      27 defendants by such fictitious names. Each said cross-defendant was in some manner legally
      28 responsible for the facts and circumstances in the losses and damages hereinafter alleged. Cross-
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                                 CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                           EXCALIBER FUELS
 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 3 of 15 Page ID #:87



       1 complainant will amend the cross-complaint to set forth the true names and capacities of said cross-
       2 defendants along with appropriate charging allegations.
       3                                             JURISDICTION
       4          10.    The Court has jurisdiction over these claims because they arise out of the same
       5 transaction and occurrence alleged in Plaintiff’s Complaint so as to form a part of the same case or
       6 controversy within the meaning of Article III of the Constitution of the United States of America.
       7                                      GENERAL ALLEGATIONS
       8          11.    Plaintiff filed a Complaint in this proceeding against Defendants for damages arising
       9 out of alleged hazardous substances and contamination of the property located at 14041 Newland
      10 Street, Westminster, California 92683 (“Newland Property”), including damages for diminution in
      11 the market value of the Newland Property and the loss of rent and current limited use of the Newland
      12 Property.
      13          12.    On or about February 18, 2000, the predecessor owner of the Newland Property,
      14 WLLP filed a Complaint against the same Defendants, Hussein M. Berri and Excaliber Fuels, Inc.
      15 alleging the same damages.
      16          13.    On or about July 21, 2005 Defendants and WLLP, the predecessor owner of the
      17 Newland Property, filed a Stipulation for Entry of Judgment (“Stipulation”), and judgment was
      18 entered pursuant to the Stipulation on July 21, 2005 (“Judgment”) . Attached hereto collectively as
      19 Exhibit A and incorporated by reference are true and correct copies of the Stipulation and Judgment.
      20          14.    On or about July 2005, Defendants and the predecessor owner of the Newland
      21 Property, WLLP, entered into a Settlement and Release Agreement (“SAR”), upon which the
      22 Stipulation was based.
      23          15.    The SAR at Section 7, unequivocally recites as follows:
      24
                     Except as specifically reserved in this Agreement and the Stipulation, each of
      25             the parties hereto hereby releases and forever discharges each other and their
                     respective assignees, transferees, principals, partners, officers, directors,
      26             shareholders,       employees,     servants,     subsidiaries,   parents,     heirs,
                     successors…from and against any and all claims, disputes, demands, damages,
      27             debts, liabilities, obligations, contracts, agreements, causes of action, suits and
                     costs, of whatever nature, character or description, whether known or
      28             unknown, anticipated or unanticipated…
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                                 CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                           EXCALIBER FUELS
 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 4 of 15 Page ID #:88



       1          16.     The SAR at Section 15, unequivocally recites as follows:
       2
                     This Agreement and covenants and conditions contained herein shall apply to,
       3             be binding upon and insure to the administrators, executors, conservators,
                     trustees, legal representatives, assignees, successors, agents, and assignees of
       4             the parties hereto [emphasis added]
       5          17.     WLLP subsequently sold the Newland Property to Cross-Defendant Cordary. Upon
       6 information and belief, WLLP did not disclose the terms of the SAR to Cordary, and Cordary is
       7 simply attempting to recover the same damages as its predecessor owner, WLLP. Plaintiff Cordary,
       8 in the underlining action, is a successor to WLLP and is legally bound by and must adhere to the
       9 terms of the SAR entered into by its predecessor WLLP.
      10                                     FIRST CAUSE OF ACTION
      11                (Equitable Indemnification – Against Cordary, WLLP, PHM and RH)
      12          18.     Cross-Complainants re-allege and incorporate by reference paragraphs 1 through 17
      13 above as though fully set forth herein.
      14          19.     In the event lability should be established in this action or in any administrative or
      15 regulatory action based on the contamination alleged in this action, Cross-Complainants allege that
      16 Cross-Defendants are bound and obligated to defend, indemnify and hold harmless Cross-
      17 Complainants from and against any and all claims, losses, damages, attorneys’ fees and other such
      18 costs of liability.
      19          20.     Any liability, which is expressly denied, was released by the predecessor owner,
      20 WLLP and its successors as a part of the SAR and Stipulation in the case known as Westminster
      21 Living, LP v. Hussein Beri, et al., Superior Court of California for the County of Orange, Case No.
      22 00CC02401. Cross-Defendants expressly released Cross-Complainants from any liability relating
      23 to the Newland Property and such release is binding on Cross-Defendants successors, including
      24 Plaintiff Cordary.
      25          21.     Cross-Complainants have incurred costs, expenses, and attorneys’ fees for the
      26 investigation and defense of this action and additional costs and expenses and attorneys’ fees will
      27 be incurred in the future. Cross-Complainants may suffer liability herein for the acts or failure to act
      28 of Cross-Defendants. Cross-Complainants therefore pray from the Court upon ascertainment of said
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                                 CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                           EXCALIBER FUELS
 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 5 of 15 Page ID #:89



       1 costs, expenses and attorneys’ fees and other such costs of liability, to amend this Cross-Complaint
       2 to allege the correct amount thereof.
       3         22.     Cross-Complainants allege that an actual controversy exists between Cross-
       4 Complainants and Cross-Defendants concerning their respective rights and obligations. Cross-
       5 Complainants contend that if Cross-Complainants herein are subject to liability to any party to this
       6 action, Cross-Complainant will be entitled to be indemnified by section Cross-Defendants for the
       7 full amount of any loss suffered or judgment paid by Cross-Defendants, to any such party costs,
       8 attorneys’ fees and other expenses, which have been and in the future may be incurred by Cross-
       9 Complainants in the defense of this matter related to the Newland Property.
      10                                  SECOND CAUSE OF ACTION
      11                  (Implied Indemnity – Against Cordary, WLLP, PMH, and RH)
      12         23.     Cross-Complainants re-allege and incorporate by reference paragraphs 1 through 17
      13 above as though fully set forth herein.
      14         24.     Cross-Complainants allege that if they are found at fault in any matter related to this
      15 action, Cross-Complainants are entitled to be indemnified and held harmless from any judgment
      16 against them because a duplicative action related to the Newland Property was brought by WLLP,
      17 the predecessor owner of the Newland Property, was settled, and all claims against Cross-
      18 Complainants were released thereunder. Cross-Defendant Cordary is bound as a successor under
      19 the terms of the SAR.
      20         25.     And as a result of the wrongful filing of the underlying complaint against Berri and
      21 Excaliber, Cross-Complainants are entitled to costs, expenses and reasonable attorneys’ fees
      22 incurred in defense of this action brought by Cordary.
      23                                    THIRD CAUSE OF ACTION
      24                       (Breach of Contract – Against all Cross-Defendants)
      25         26.     Cross-Complainants re-allege and incorporate by reference paragraphs 1 through 17
      26 above as though fully set forth herein.
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                                 CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                           EXCALIBER FUELS
 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 6 of 15 Page ID #:90



       1          27.     WLLP, the predecessor owner of the Newland Property, entered into the SAR,
       2 agreeing to release and forever discharge Cross-Complainants from any claims related to
       3 environmental contamination, diminution of value, etc. in reference to the Newland Property.
       4          28.     Pursuant to the terms of the SAR, the SAR is also enforceable against any successor
       5 party, including Cordary. The SAR at Section 15, unequivocally recites as follows:
       6
                     This Agreement and covenants and conditions contained herein shall apply to,
       7             be binding upon and insure to the administrators, executors, conservators,
                     trustees, legal representatives, assignees, successors, agents, and assignees of
       8             the parties hereto. [emphasis added].
       9          29.     The Cross-Complainants fully performed under the terms of the SAR including
      10 monetary payment to WLLP and PMH.
      11          30.     WLLP and upon information and belief Cordary have breached the SAR by the filing
      12 of the underlying Complaint against Berri and Excaliber and seeking to hold Excaliber again liable
      13 for the claims that had been previously released.
      14          31.     Cross-Complainants have incurred costs, expenses, and attorneys’ fees for the
      15 investigation and defense of this action and additional costs and expenses and attorneys’ fees will
      16 be incurred in the future. Cross-Complainants may suffer liability herein for the acts or failure to act
      17 of Cross-Defendants.
      18          32.     Cross-Complainants are entitled to costs, expenses and reasonable attorneys’ fees
      19 incurred in defense of the underlying action brought by Plaintiff Cordary against Defendants Berri
      20 and Excaliber, and WLLP and other Cross-Defendants herein are currently in breach of the SAR.
      21                                    FOURTH CAUSE OF ACTION
      22                         (Declaratory Relief – Against all Cross-Defendants)
      23          33.     Cross-Complainants re-allege and incorporate by reference paragraphs 1 through 32
      24 above as though fully set forth herein.
      25          34.     If there is found to be liability on the part of Defendants in the underlying action and
      26 Cross-Complainants herein to Plaintiff, said liability is barred as a result of the SAR and Stipulation
      27 entered into by WLLP, the predecessor owner of the Newland Property, who released all such claims
      28 and whose release extends to successor owners of the Newland Property.
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                                 CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                           EXCALIBER FUELS
 Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 7 of 15 Page ID #:91



       1          35.    By reasons of things and matters herein alleged, Cross-Complainants desire a judicial
       2 determination of their rights and obligations, and a declaration as to whether, in the event Plaintiff
       3 Cordary or any other party obtains judgment against them related to the Newland Property, they are
       4 entitled to indemnification and are released from any liability contained in the SAR. Such a
       5 declaration if necessary and appropriate in order to ascertain their rights and obligations, and in
       6 order to avoid multiplicity of actions, and to promote the settlement of all claims between parties.
       7                                      PRAYER FOR RELIEF
       8          WHEREFORE, Cross-Complainants pray for judgment against Cross-Defendants as
       9 follows:
      10          1. For a declaration that Cross-Complainants are entitled to whole or partial equitable and
      11 implied indemnification from Cordary, WLLP, PMH and RH from and against all expenses, costs
      12 of suit, legal fees, damages, judgments or other claims or awards that may be claimed or obtained
      13 in this action as they relate to the Newland Property.
      14          2. For a declaration that Plaintiff is barred from brining this action pursuant to the terms of
      15 the SAR entered into by the predecessor owner WLLP which also binds successive parties to the
      16 terms of the release including Cross-Defendant Cordary.
      17          3. That Cross-Complainants be awarded their costs and attorneys’ fees incurred herein; and
      18          4. For such other and further relief as the Court may deem just and proper.
      19
      20 Dated: December 9, 2022                        COLLINS & KHAN LLP
      21
                                                                ~ -




                                                 By:
                                                         ~




      22                                                ____________________________
                                                        AZIM KHANMOHAMED
      23                                                MARC A. COLLINS
                                                        R. MICHAEL COLLUM
      24                                                Counsel for Defendants and Cross-Complainants
                                                        HUSSEIN M. BERRI and
      25                                                EXCALIBER FUELS
      26
      27
      28
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                                 CROSS-COMPLAINT OF HUSSEIN M. BERRI AND
                                           EXCALIBER FUELS
Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 8 of 15 Page ID #:92




                                  EXHIBIT A
"'                    Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 9 of 15 Page ID #:93



                                                                                                            f~ILED
                                                                                                   SUPERIOR COURT OF CALIFORNIA
                  1       James P. Caiopoulos & Associates                                              COUNTY OF ORANGE
                                                                                                     CENTRAL JUSTICE: CENTER
                          James P. Caiopoulos, Esq., SBN 152644
                  2
                          7755 Center Ave., Ste 1100                                                      JUL 212005
                  3       Huntington Beach, CA 92647
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     ~~
      \. _ _ •,
                          (714) 372-2285; (714) 372-2286-Facsimile                                  ALAN SLATER, Clerk of Iha Court

                                                                                                    BY: bt.lk P~.11EPUTY
1~                5       Attorneys for Defendants, HUSSEIN BERRI and EXCALIBER FUELS
                  6
                                                       SUPERIOR COURT OF CALIFORNIA
                  7

                  8                         FOR THE COUNTY OF ORANGE- CENTRAL DISTRICT

                  9

                  10
                          WESTMINSTER LIVING, LP, a California
                  11      limited partnership,                              Case No. 0OCC0240 I

                  12                                                        Assigned For All Purposes To:
                                         Plaintiff,
                                                                            Judge Kim G. Dunning
                  13                                                        Department CXl 04
                                 vs.
                  14
                          HUSSEIN BERRI, and individual, and DOES          · STIPULATION FOR ENTRY OF
                  15      1 to 60, inclusive                                 JUDGMENT

                  16                    Defendants.
                  17

                  18
                                 IT IS HEREBY STIPULATED, by and between Plaintiff, WESTMINSTER LIVING,
                  19
                          L.P., a California Limited Partnership, (hereinafter referred to as "Plaintiff'), and Defendants,
                  20
                          EXCALIBER FUELS, a California corporation, originally sued herein as Doe 1 (hereinafter
                  21
                          referred to as "EXCALIBER"), and HUSSEIN BERRI, an individual, (hereinafter referr(id to as
                  22
                          "BERRI"). (EXCALIBER and BERRI at times will hereinafter be referred to collectively as
                  23
                          "Defendants"), as follows:
                  24
                                 1.     Pursuant to the Settlement Agreement entered into by and between Plaintiff and
                  25
                          Defendants dated July 19, 2005, Plaintiff and Defendants stipulate that Plaintiff shall have
                  26
                          judgment against Defendants jointly and severally in the sum of $125,000.00, of which
                  27

                  28                                                -I-
                                                                                               Stipulation for Entry of Judgment
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1    $100,000.00, represents damages for the fair market value of the property rendered unsuitable for

2    any beneficial use by Plaintiff and $25,000.00 represents loss of business income suffered by

3    Plaintiff, resulting from the release of petroleum hydrocarbon waste from EXCALIBER's

4    underground storage tanks located at 8484 Westminster Avenue, Westminster, California, unto

5    Plaintiffs property located at 1404-1 Newland Street, Westminster, California.

6                   2.      EXCALIBER acknowledges and stipulates that Plaintiffs property has

7    been contaminated by the release of petroleum hydrocarbon waste from EXCALIBER's

8    underground storage tanks. EXCALIBER further acknowledges and agrees that as a direct result

9    of such contamination, Plaintiff has suffered loss by reason of rendering a portion of Plaintiffs

10   property unsuitable for beneficial use, including but not limited to, loss of swimming pool and

11   parking spaces and ability to remodel, and has also suffered loss of business income as a result of

12   said contamination.

13                  3.      The total amount of the judgment of $125,000.00 will not be due and

14   payable until the earlier of the following:

15                          (a)     Fifteen (15) days following the payment by the California

16   Underground Storage Tank Cleanup Fund (the "FUND"), to EXCALIBER of its Third Party

17   Claim, or

18                          (b)     Nine (9) months following the filing of this Stipulation and Order

19   thereon, or such later date as may be agreed by the parties.

20                  4.      Plaintiff hereby stipulates that it will cooperate with EXCALIBER in

21   connection with the filing and processing of said Third Party Claim against the FUND.

22                  5.      Judgment shall be stayed until the earlier ofthe following:

23                          (a)     Thirty (30) days following the payment by the FUND to

24   EXCALIBER of its Third Party Claim, or

25                          (b)     Nine (9) months and fifteen (15) days following the filing of this

26                                  Stipulation.

27
                                                   -2-
28                                                                           Stipulation for Entry of Judgment




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. '   . Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 11 of 15 Page ID #:95


      1                   6.               The parties hereby waive the provisions of California Code of Civil Procedure

      2     Sections 902, 904, 917.1 and 583.310.

      3                   7.               The parties hereto request that the court reserve jurisdiction in order to enforce the

      4     terms of the Stipulation.

      5

      6     Dated: July              I<\, 2005                    JAMES P. CAIOPOULOS

      7
                                                                                      ,.
      8
                                                                  James P. Caiopoulos, Esq.
      9                                                           Attorneys for Defendants, HUSSEIN BERRI and
                                                                  EXCALIBER FUELS
      10

      11    Dated: July             J1, 2005                      LAW OF ICES OF JULANDER, BROWN & BOLLARD

      12

      13
                                                                  Richard L. Brown, Esq.
      14                                                          Attorney for Plaintiff, WESTMINSTER LIVING, LP
      15

      16
            5()45.ITT\002\StipJmt.022405

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      28                                                                                           Stipulation for Entry of Judgment
Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 12 of 15 Page ID #:96


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                                                                                 FILED.
                                                                         SUPERIOR COURT OF CALIFORNIA
                                                                              COUNTY OF ORANGE
                                                                            CENTRAL. JUSTICE CENTER
    3
                                                                                 JUL 21 2G05
    4
                                                                           ALAN SI.ATER, C\arl<. of the Court
    5
                                                                           BY:'DJ,k, fi~,DEPUTY
    6
    7

    8                                       SUPERIOR COURT OF CALJFORNIA
    9                           FOR THE COUNTY OF ORANGE- CENTRAL DISTRJCT
   10
   11   \VESTMINSTER LIVING LP, a California                )   CASE NO. 00CC02401 .
        limited partnership,                                )
   12                                           ) Assigned For All Purposes To:
                                     Plaintiff, ) Judge Kim G. Dunning
   13                                           ) Department CXI 04
      vs.                                       )
   14                                           )
      HUSSEIN BERRI, an :individual; and DOES 1 ) ~llOP08'ED] JUDGMENT PURSUANT
   15 through 60, inclusive,                    ) TO STIPULATION
                                                )
   16                        Defendants.        )
                                                )
   17
        _______________                         )
                                                )
   18
   19              Pursuant to the Stipulation for Entry of Judgment entered into by and between Plaintiff,
   20   WESTMINSTER LNlNG, L.P ., a California Limited Partnership, (hereinafter referred to as

   21   11   Plaintiff1), and Defendants, HUSSEIN BERRJ, an individual, (hereinafter referred to as

   22   "BERRI") and EXCALIBER FUELS, a California corporation, originally sued herein as Doe 1
   23   (hereinafter referred to as 11 EXCALIBER11 ) (collectively, "Defendants"):

   24              NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED:
   25              1.     Plaintiff shall have judgment against Defendants jointly and severally in the sum of

   26   $125,000.00, of which $100,000.00, represents damages for the fair market value of Plaintiff's
   27   property located at 14041 Newland Street, Westminster, California (the "'Property") rendered

   28   unsuitable for any beneficial use by Plaintiff and $25,000.00 represents loss of business income

        WESOl-Ol!Pleading/Judgment
                                                         [PROPOSED] JUDGMENT PURSUANT TO STIPULATION

                                                                                       _...L_ _____ _
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    I   suffered by Plaintiff, resulting from the release of petroleum hydrocarbon waste from
    2 EXCALIBER's underground storage tanks located at 8484 Westminster Avenue, Westminster,

    3   California, unto the Property.

    4             2.        The judgment amount of $125,000.00 will not be due and payable and enforcement

    5 shall be stayed until the earlier of the following:

    6             (a)       Fifteen (15) days following the payment by the California Underground Storage

    7                       Tank Cleanup Fund (the "FUND"), to EXCALIBER of its Third Party Claim, or

    8             (b)       ,Nine (9) months following the filing of the Stipulation for Entry of Judgment and

    9                       entry of Judgment thereon.

   10

   11
   12   DATED:         a-u ly z.t i.ooS t
                                                                   KIM G. OUNN\NG
                                                          Hon. Kim G. Dunning, Judge
   13

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        \VESO 1-0 I!Pleading/Judgment                                                                    Page 2
                                                           (PROPOSED] JUDGMENT PURSUANT TO STIPULATION
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   1                              PROOF OF SERVICE
                            1013A (3) CCP Revised 5/1/88
   2

   3   STATE OF CALIFORNIA, COUNTY OF ORANGE

   4        I am employed in the County of Orange, State of California.
       I am over the age of 18 and not a party to the within action; my
   5   business address is Two Park Plaza, Suite 450, Irvine, California,
       92614.
   6
            On July 22, 2005, I served the foregoing document described
   7   as NOTICE OF ENTRY OF JUDGMENT on the parties in this action as
       follows:
   8
       James P. Caiopoulos, Esq.                 PHONE:   714/938-3230
   9   Robert A. Bazzo, Esq.                     FAX:     714/938-3210
       James P. Caiopoulos & Associates
 10    7755 Center Drive, Suite 1100             Attorneys for Defendant
       Huntington Beach, CA 92647                HUSSEIN BERRI
 11
       \xxx/by placing the true copies-thereof enclosed in sealed
 12    envelopes addressed as stated on the attached mailing list.

 13    \xxx/ BY MAIL
 14          \  / I deposited such envelope in the mail at Irvine,
       California.  The envelope was mailed with postage thereon fully
 15    paid.

 16         \xxx/ As follows: I am "readily familiar 11 with the firm's
       practice of collection and processing correspondence for mailing.
 17    Under that practice it would be deposited with u-. S. postal service
       on that same day with postage thereon fully prepaid at Irvine,
 18    California in the ordinary course of business.        I am aware that on
       motion of the party served, service is presumed invalid if postal
 19    cancellation date or postage meter date is more than one day after
       date of deposit for mailing in aff idc=i.vi:t. Exec1..1ted on July 22,
 20    2005, at Irvine, California.           ·

 21    \  / BY PERSONAL SERVICE I caused such envelope to be delivered
       by hand to the addressee listed above. Executed on**, at Irvine,
 22    California.

 23    \XXX/(State} I declare under penalty of perjury under the laws of
       the State of California that the above is true and correct.
 24
       \   /{Federal}  I declare that I am employed in the office of a
 25    member of the bar of this court at whose direction the service was
       made.
 26

 27    Elizabeth Lewis

 28
       Case 8:22-cv-01748-JWH-JDE Document 16 Filed 12/09/22 Page 15 of 15 Page ID #:99



                    1                                  PROOF OF SERVICE
                                        HUSSEIN BERRI ET AL. V. 12909 CORDARY, LLC ET AL.
                    2
                                                       8:22-cv-01748-JWH (JDEx)
                    3
                             I, the undersigned, am over the age of eighteen years and am resident of Los Angeles County,
                    4 California; I am not a party to the above-entitled action; my business address is 3435 Wilshire Blvd.,
                      Ste. 2600, Los Angeles, CA 90010.
                    5
                               On December 9, 2022 I served the following document(s):
                    6
                    7 ANSWER OF DEFENDANTS HUSSEIN M. BERRI AND EXCALIBER FUELS TO
                      COMPLAINT OF 12909 CORDARY, LLC; CROSS-COMPLAINT OF HUSSEIN BERRI
                    8 AND EXCALIBER FUELS
                    9          Addressed to:
                   10
                         Jad T. Davis, Esq.                                  Attorneys for Plaintiff and Cross-Defendant
                   11    Thomas V. Wynsma, Esq.                              Tel: (949) 475-1500
                         SHOOK, HARDY & BACON L.L.P.                         Fax: (949) 475-0016
                   12    5 Park Plaza, Suite 1600                            Email: jtdavis@shb.com
                         Irvine, CA 92614                                    twynsma@shb.com
                   13
                   14
                   15 _____ BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
                        United States mail at Los Angeles, California.
                   16
                        _____ BY FACSIMILE: In addition to the service by mail as set forth above, I forwarded a copy
                   17 of said documents via facsimile to the listed facsimile number.
                   18
                      _____ BY OVERNIGHT EXPRESS: I caused such envelope with postage thereon fully prepaid to
                   19 be placed in the Designated Overnight Express drop box in Los Angeles, California.
                   20 _____ BY PERSONAL SERVICE: I caused said documents to be personally served on all listed
                        recipients Via ASAP Legal Services.
                   21
                   22 ____X ___ BY ELECTRONIC MAIL TRANSMISSION: via email. I caused the listed documents
                        to be electronically filed and or subsequently emailed to the above recipients.
                   23
                               Executed on December 9, 2022, at Los Angeles, California.
                   24
                               I declare under penalty of perjury under the laws of the State of California that the above is
                   25 true and correct.
                   26
                                                        _____________________________
                   27                                            Sabrina Saleh

                   28

      !C:
Collin~,'}< Khan                                                         1
                                                              PROOF OF SERVICE
